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                                                                              JS-6
                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. SACV 23-2302-CJC (DFMx)                                 Date: February 28, 2024

 Title: AMERIS BANK v. CONTRACTOR SALES & SERVICES LLC


 PRESENT:

       HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

       Rolls Royce Paschal                                  N/A
          Deputy Clerk                                  Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:
          None Present                                  None Present


 PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING CASE FOR FAILURE
 TO PROSECUTE

        In its Complaint filed on December 6, 2023, Plaintiff Ameris Bank asserts a claim
 against Defendant Contractor Sales & Services LLC for breach of an equipment
 financing agreement. (See Dkt. 1.) On January 30, 2024, the Court issued an order to
 show cause why this case should not be dismissed for lack of prosecution because
 Defendant’s answer deadline had passed and Ameris had taken no further action. (See
 Dkt. 9). In response, Ameris filed a declaration indicating that the parties had agreed to
 settlement terms and requested a continuance of the OSC’s response deadline until
 February 16, 2024 “to allow the parties sufficient time to finalize their settlement
 documents.” (Dkt. 10 ¶ 5.) However, nearly two weeks later, Ameris has not filed
 anything. Accordingly, per the Court’s OSC (Dkt. 9), this case is DISMISSED
 WITHOUT PREJUDICE for failure to prosecute.




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 MINUTES FORM 11
 CIVIL-GEN                                                          Initials of Deputy Clerk RRP
